        Case 1:22-cv-04149-WMR Document 16 Filed 11/17/22 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )            Civil Action Number:
                                    )            1:22-cv-04149-WMF
FELICIA FRANKLIN, in her            )
individual and official capacities; )
ALIEKA ANDERSON, in her             )
individual and official capacities; )
GAIL HAMBRICK, in her               )
individual and official capacities; )
and CLAYTON COUNTY,                 )
GEORGIA,                            )
                                    )
      Defendants.                   )
__________________________________
                        NOTICE OF APPEARANCE
      COMES NOW Melissa A. Tracy, an attorney with the law firm of Jarrard &

Davis, LLP, 222 Webb Street, Cumming, Georgia 30040, and hereby enters her

appearance as co-counsel of record for Defendant Felicia Franklin in the above-

styled civil action.

      Respectfully submitted this 17th day of November, 2022.

                         [Signature on following page]
      Case 1:22-cv-04149-WMR Document 16 Filed 11/17/22 Page 2 of 3




                                        /s/ Melissa A. Tracy
                                        Melissa A. Tracy
                                        Georgia Bar No. 714477
                                        mtracy@jarrard-davis.com
                                        Counsel for Defendant Felicia
                                        Franklin

JARRARD & DAVIS, LLP
222 Webb Street
Cumming, Georgia 30040
(678) 455- 7150




                                    2
       Case 1:22-cv-04149-WMR Document 16 Filed 11/17/22 Page 3 of 3




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the within and foregoing has been prepared in compliance

with Local Rule 5.1(B) in 14-point Times New Roman type face.


                                             /s/ Melissa A. Tracy
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com



                         CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing

NOTICE OF APPEARANCE in the above-styled civil action with the Clerk of

Court by using the Court’s CM/ECF system, which will automatically send notice

of same to the attorneys of record.

      This 17th day of November, 2022.




                                             /s/ Melissa A. Tracy
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com




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